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                 EXHIBIT C
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                      Numbered List of Disputed Claim Terms


Term No.    Claim Term                              ʼ899 Claims       ʼ292 Claims
   1        “building including a plurality of                        1, 15, 28
            facilities therein”

   2        “shopping mall”                         2, 7, 12, 30      4, 13, 26, 29

   3        “an identifier including at least       1
            three fields”

   4        “an address portion”                    1, 7, 9, 11, 30   4

   5        “output, via the at least one           1, 7, 9, 11       1, 15, 28
            mobile device” / “causing to be
            output, via the at least one mobile
            device” / “cause to be output, via
            the at least one mobile device”

   6        “an application [computer code]         1, 7, 9, 11
            configured for[to be] execution
            [executed] by at least one of a
            plurality of mobile devices . . . the
            application when executed causes
            the at least one mobile device to
            [the computer code, when
            executed, configured to] [the
            application, when executed,
            configured to] . . . [cause] display
            of an option via a display of the at
            least one mobile device”

   7        “code configured to be executed                           1, 15, 28
            by at least one of the plurality of
            mobile devices, the code, when
            executed, configured to . . . cause
            display, via a display of the at
            least one mobile device, of an
            option for causing first visual
            information and second visual
            information to be output via the at
            least one mobile device”

   8        “an application configured for          1, 7, 9, 11       1, 15, 28
            execution by [configured to be
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         executed by] at least one of a
         plurality of mobile devices . . . the
         application when executed causes
         the at least one mobile device to
         [configured to] . . . receive an
         indication of a receipt, without
         solicitation from the at least one
         broadcast short-range
         communications unit and via the
         Bluetooth [first] wireless
         communications protocol, of the
         one or more messages including
         the address portion and the
         identifier including the at least
         three fields [, the plurality of
         fields,] and the at least one value”
         / “computer code configured for
         execution by at least one of a
         plurality of mobile devices . . . the
         computer code, when executed,
         configured to . . . receive an
         indication of a receipt, without
         solicitation from the at least one
         broadcast short-range
         communications unit and via the
         short-range first wireless
         communications protocol, of the
         one or more messages including
         the address portion, the at least
         three fields, and the at least one
         value” / “code configured for
         execution by at least one of a
         plurality of mobile devices . . . the
         code, when executed, configured
         to . . . receive an indication of a
         receipt from the first broadcast
         short-range communications unit
         and via the first wireless
         communications protocol, of the
         one or more first broadcast
         messages including the at least
         one first value”

9        “code configured to be executed               1, 15, 28
         by at least one of the plurality of
         mobile devices, the code, when
         executed, configured to . . .
         receive an indication of a receipt,
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          from the second broadcast short-
          range communications unit and
          via the first wireless
          communications protocol, of the
          one or more second broadcast
          messages including the at least
          one second value”

10        “said application, when executed,       1
          further configured to cause the at
          least one mobile device to . . . in
          response to the receipt, from the at
          least one server and via the
          another wireless communications
          protocol, of the response message
          including the particular location-
          relevant information; control,
          utilizing the application, the one
          or more mobile device application
          actions of the application
          including causing to be output, via
          the at least one mobile device, the
          mobile device application visual
          information based on the
          particular location-relevant
          information”

11        “said application, when executed,       7, 9, 11   1
          further configured to . . . after the
          receipt, from the at least one
          server and via the second wireless
          communications protocol, of the
          response message including the
          particular location-relevant
          information: cause, utilizing the
          application, the one or more
          mobile device application actions
          including causing to be output, via
          the at least one mobile device, the
          visual information based on the
          particular location-relevant
          information” / “computer code ,
          when executed, further configured
          to . . . in response to [after] the
          receipt, from the at least one
          server and via the second wireless
          communications protocol, of the
          response message including the
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          particular location-relevant
          information from the at least one
          server and via the second wireless
          communications protocol; cause,
          utilizing the computer code, the
          one or more mobile device actions
          including causing to be output, via
          the at least one mobile device, the
          visual information based on the
          particular location-relevant
          information” / “code, when
          executed, further configured to . . .
          after the receipt, from the at least
          one server and via the second
          wireless communications
          protocol, of the response message
          including the first location-
          relevant information and the
          second location-relevant
          information: cause to be output,
          via the at least one mobile device,
          the first visual information based
          on the first location-relevant
          information”

12        “said code, when executed, further            15, 28
          configured to . . . in response to
          the receipt, from the at least one
          server and via the second wireless
          communications protocol and the
          Internet Protocol over the Internet
          at least in part, of the first
          response message including the
          first location-relevant information
          [of the first location-relevant
          information]: cause to be output,
          via the at least one mobile device,
          the first visual information based
          on the first location-relevant
          information”

13        “said code, when executed, further            1
          configured to . . . after the receipt,
          from the at least one server and
          via the second wireless
          communications protocol, of the
          response message including the
          first location-relevant information
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          and the second location-relevant
          information; after the first visual
          information is caused to be output
          based on the first location-relevant
          information; and after the at least
          one mobile device is moved in the
          building: cause to be output, via
          the at least one mobile device, the
          second visual information based
          on the second location-relevant
          information”

14        “said code, when executed, further            15
          configured to . . . after the first
          visual information is caused to be
          output based on the first location-
          relevant information; after the at
          least one mobile device is moved
          in the building; and in response to
          the receipt, from the at least one
          server and via the second wireless
          communications protocol, of the
          second response message
          including the second location-
          relevant information: cause to be
          output, via the at least one mobile
          device, the second visual
          information based on the second
          location-relevant information”

15        “said code, when executed, further            28
          configured to . . . after the receipt,
          from the at least one server and
          via the second wireless
          communications protocol, of the
          second location-relevant
          information; after the first visual
          information is caused to be output
          based on the first location-relevant
          information; and after the at least
          one mobile device is moved in the
          building: cause to be output, via
          the at least one mobile device, the
          second visual information based
          on the second location-relevant
          information”
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16        “the system is configured such        1, 7, 9
          that, after the indication of the
          user input is received and after an
          initial instance of the output of the
          mobile device application visual
          information including the image
          [the output of the visual
          information] is caused, subsequent
          instances of the output of the
          mobile device application visual
          information including different
          images [the output of the visual
          information] are capable of being
          caused as a user moves among a
          plurality of the facilities of the
          building [as a user moves,],
          without requiring [necessitating]
          additional subsequent user input”

17        “the system is further configured      11
          such that, after the indication of
          the user input is received and after
          the output of the visual
          information is caused, subsequent
          output of different visual
          information is caused as the at
          least one mobile device is moved
          among a plurality of the facilities
          of the building”

18        “the system is further configured      1
          such that the option and the user
          input permit the user to determine
          whether the control of the one or
          more mobile device application
          actions is triggered”

19        “the system is further configured      7, 9
          [configured] such that the option
          and the user input permit the user
          to influence whether the one or
          more mobile device actions is
          caused”

20        “the application, when executed,       11
          is configured to permit a
          determination as to whether the
          one or more mobile device
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          application actions including
          causing to be output the visual
          information is triggered”

21        “the system is configured such         7, 9
          that different brand-specific visual
          information is caused to be output
          as the user moves among the
          plurality of facilities of the
          shopping mall” “the system is
          configured such that different
          product-type-specific visual
          information is caused to be output
          as the user moves among the
          different locations of the retail
          store”

22        “the system is configured such         4, 14   5, 18
          that the output of the mobile
          device application visual
          information [the visual
          information] is conditionally
          caused based on whether a mobile
          device-specific threshold has been
          met” / “the system is configured
          such that the output of the first
          visual information and the second
          visual information are
          conditionally caused based on
          whether a mobile device-specific
          threshold has been met”

23        “the system is configured such         18      8, 21
          that, after the receipt of the
          indication of the user input, the
          visual information is
          automatically caused to be output,
          in response to the receipt of the
          indication of the receipt of the one
          or more messages that are
          broadcasted after the receipt of the
          indication of the user input” / “the
          system is configured such that,
          after the receipt of the indication
          of the user input, the first visual
          information is automatically
          caused to be output in response to
          the receipt of the indication of the
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          receipt of the one or more first
          broadcast messages that are
          broadcasted after the receipt of the
          indication of the user input, and
          the second visual information is
          automatically caused to be output
          in response to the receipt of the
          indication of the receipt of the one
          or more second broadcast
          messages that are broadcasted
          after the receipt of the indication
          of the user input”

24        “the system is configured such         19
          that the visual information is
          automatically caused to be output
          without requiring further
          communication with the at least
          one broadcast short-range
          communications unit, after the
          receipt of the indication of the
          receipt of the one or more
          messages”

25        “the system is configured such                1, 15, 28
          that the first visual information is
          automatically caused to be output
          without requiring communication
          of the at least one [first] message
          with the first broadcast short-
          range communications unit after
          the receipt of the indication of the
          receipt of the one or more first
          broadcast messages, and the
          second visual information is
          automatically caused to be output
          without requiring communication
          of the at least one [second]
          message with the second
          broadcast short-range
          communications unit after the
          receipt of the indication of the
          receipt of the one or more second
          broadcast messages”

26        “the system is configured such         23
          that the one or more mobile
          device application actions is based
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      on user feedback information
      received from a user of the at least
      one mobile device”

27    “the system is configured such                 11, 25
      that both the first visual
      information and the second visual
      information are output based on
      user feedback information
      received from a user of the at least
      one mobile device”

28    “the system is configured such         25
      that the subsequent output of the
      different visual information is
      capable of being caused without
      additional user input after the user
      input”

29    “the system is configured such                 12
      that both the first visual
      information and the second visual
      information are output without
      additional user input after the user
      input”

30    “the system is configured such         28
      that the particular location-
      relevant information is located
      based on the at least on value”
